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                      UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF NEW YORK



RYAN BERRIS,


                              Plaintiff,


                v.                            Case No. 1:23-cv-04305 (AS)


SUNG-FUNG CHOI (A/K/A NORMAN                  Oral Argument Requested
CHOI), DE TOMASO AUTOMOBILI
HOLDING N.A. LLC, HIN WENG LUI
(A/K/A SAMUEL LUI), GENESIS
UNICORN CAPITAL CORP.,

                            Defendants.




                MEMORANDUM OF LAW IN OPPOSITION
                TO GENESIS UNICORN CAPITAL CORP.’S
                 MOTION TO DISMISS THE COMPLAINT
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                                        INTRODUCTION
          The Complaint alleges a straightforward scheme by Defendant Genesis Unicorn Capital

Corp. (“Genesis”), acting by and through its President, Defendant Hin Weng (“Samuel”) Lui,1 to

enter into a fraudulent SPAC transaction with Defendant De Tomaso Automobili Holding N.A.

(“De Tomaso”) at the urging of Defendant Norman Choi. As alleged in the Complaint, when

Plaintiff Berris eventually learned of this attempted market manipulation and began to express

concerns, Genesis and Lui forced Berris out of De Tomaso and deprived him of the remuneration

and equity he was owed for his years of work building the company, almost none of which had

been paid out to him.

          Lacking any credible arguments that Plaintiff has not properly alleged its claims against

Genesis and Lui in the Complaint, Genesis instead seeks to avoid liability by brazenly claiming

that the Federal Rules of Civil Procedure mandate its dismissal purportedly because—over two

months after it was sued and served with valid process—Genesis subsequently merged into a new

corporate entity. That flies in the face of what the Federal Rules actually state. As explained

below, Rule 25(c) clearly and expressly covers this exact situation and unambiguously permits a

case to proceed against the original party, with any judgment binding against its successor in

interest. Because both its procedural and merits-based arguments fail, Genesis’s motion should be

denied.
                                       LEGAL STANDARD
          To survive a motion to dismiss for failure to state a claim, “a complaint must include

sufficient factual matter, accepted as true, to state a claim to relief that is plausible on its face.”

Charming Beats, LLC v. Hypebeast, Inc., 2023 WL 5432294, at *1 (S.D.N.Y. Aug. 23, 2023)

(quoting Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)).2 “In reviewing a motion to dismiss, the




1
  Defendant Lui was served with process on August 24, 2023, after his attorneys refused to
accept service on his behalf. His response to the Complaint will be due on September 28, 2023.
2
  Unless otherwise indicated, all quotations, citations, brackets, and alterations are omitted; all
emphases are added.
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Court accepts all factual allegations as true, and draws all reasonable inferences in the plaintiff’s

favor.” Id. (quoting Austin v. Town of Farmington, 826 F.3d 622, 625 (2d Cir. 2016)).

       On a motion to dismiss for failure to state a claim, “the Court may review only a narrow

universe of materials,” including “facts stated on the face of the complaint, documents appended

to the complaint or incorporated in the complaint by reference, and matters of which judicial notice

may be taken.” Id. (quoting Goel v. Bunge, Ltd., 820 F.3d 554, 559 (2d Cir. 2016)).
                                           ARGUMENT
       I. Genesis’s Merger Argument Is Foreclosed by Rule 25(c)
       Genesis’s argument that the suit against it cannot continue because it merged with another

company after it was properly served is squarely foreclosed by the express language of Federal

Rule of Civil Procedure 25(c). Rule 25(c) provides that “[i]f an interest is transferred, the action

may be continued by or against the original party unless the court, on motion, orders the transferee

to be substituted in the action or joined with the original party.” Fed. R. Civ. P. 25(c). The effect

of a transfer of interest that occurs after a company is made a party to a lawsuit is governed by

Rule 25(c), and not, as Genesis mistakenly asserts, Rules 9 and 17. See Arnold Graphics Indus.,

Inc. v. Indep. Agent Ctr., Inc., 775 F.2d 38, 43 (2d Cir. 1985) (Rule 25(c) applicable to all corporate

mergers, including de facto mergers); Luxliner P.L. Exp., Co. v. RDI/Luxliner, Inc., 13 F.3d 69, 71

(3d Cir. 1993) (“A ‘transfer of interest’ in a corporate context occurs when one corporation
becomes the successor to another by merger or other acquisition of the interest the original

corporate party had in the lawsuit.”); see also 7C Charles C. Wright, Arthur R. Miller & Mary Kay

Kane, Federal Practice & Procedure § 1958 (3d ed. 2023) (“After suit is brought, Rule 25(c)

becomes the relevant provision. The rule applies to ordinary transfers and assignments, as well as

to corporate mergers.”); 6 Moore’s Federal Practice - Civil § 25.31 (2023).

       Genesis existed as a separate entity at the time it was made a party to this lawsuit through

service on its registered agent on June 1, 2023, over two months prior to the merger that

purportedly deprived it of its ability to be sued. (See ECF No. 19; Colbath Decl., Ex. A).

Defendant does not contest the validity of that service and has thus waived any argument that such

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service was ineffective. Indeed, Genesis even disclosed that it was a party to this suit to its

shareholders through its Schedule 14A form filed with the SEC. (Simons Decl., Ex. A at 97 (“On

May 24, 2023, a complaint was filed in the United States District Court for the Southern District

of New York by Ryan Berris against De Tomaso Automobili Holdings N.A. LLC (“DT”), DT’s

owner Sung-Fung “Norman” Choi (“Choi”), GUCC and Samuel Lui.”)); see Cortec Indus., Inc. v.

Sum Holding L.P., 949 F.2d 42, 47 (2d Cir. 1991) (“public documents required by law to be and

which actually have been filed with the SEC” are properly objects of judicial notice). And the

merger agreement, as filed with the SEC, provided that “all the property, rights, privileges,

agreements, powers and franchises, debts, liabilities, duties and obligations of Parent and

Purchaser prior to the Redomestication Merger Effective Time shall become the property, rights,

privileges, agreements, powers and franchises, debts, liabilities, duties and obligations of the

Redomestication Merger Surviving Corporation,” (Simons Decl., Ex. A at A-19), confirming that

this is a “transfer of interest” governed by Rule 25(c).

       The merger of an existing party to a lawsuit that results in a transfer of interest cannot

warrant dismissal and does not necessitate amendment or substitution. Fed R. Civ. P. 25(c).

Indeed, “[t]he most significant feature of Rule 25(c) is that it does not require that anything be

done after an interest has been transferred. The action may be continued by or against the original

party, and the judgment will be binding on the successor in interest even though the successor is

not named.” 7C Charles C. Wright, Arthur R. Miller & Mary Kay Kane, Federal Practice &

Procedure § 1958. To the extent that Genesis’s motion can be read to contend that its successor in

interest, ESGL Holdings Limited, should be made a party to this lawsuit for the more efficient

prosecution of Plaintiff’s claims against Genesis and its former President and CFO, Samuel Lui,

Plaintiff does not oppose such a request.

       The cases cited by Genesis do not support its meritless contention. In every case, the

defendant dismissed had merged (and thus ceased to exist) before service was attempted. See

Sevits v. McKiernan-Terry Corp. (N. J.), 264 F. Supp. 810, 811-12 (S.D.N.Y. 1966) (two corporate

defendants had merged into a third by time lawsuit was filed; claims permitted against their

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successor in interest); Thornton Tomasetti, Inc. v. Anguillan Dev. Corp., 2015 WL 7078656, at *1

(S.D.N.Y. Nov. 13, 2015) (claims filed in 2014 against company that merged with another

company in 1993; amendment to include successor in interest considered but deemed futile); Beals

v. Washington Int’l, Inc., 386 A.2d 1156, 1160 (Del. Ch. 1978) (claims filed against predecessor

and successor companies after merger became effective; claims permitted to proceed against

successor company); Damon Alarm Corp. v. Am. Dist. Tel. Co., 304 F. Supp. 83, 84 (S.D.N.Y.

1969) (service effected on predecessor company after merger became legally effective); Batty v.

UCAR Int’l Inc., 2019 WL 1489082, at *6 (Del. Ch. Apr. 3, 2019) (claims filed in 2018 against
company that had merged with another defendant in 2010). Notably, in multiple cases cited by

Genesis, claims were permitted against successors in interest. See Sevits, 264 F. Supp. at 811-12,

n.1 & 814-15 (claims permitted against successor in interest); Batty, 2019 WL 1489082, at *6,

*10; Beals, 386 A.2d at 1160 (permitting claims against successor company to proceed and

expressing puzzlement as to why successor corporation, “liable for all the debts, liabilities and

duties” of its predecessor, would bother seeking to quash service).3

       In short, Rule 25(c) squarely forecloses Genesis’s argument that its August 2, 2023, merger

necessitates dismissal. That argument fails to clear the low bar set by Federal Rule of Civil

Procedure 11(b)(2) and cannot support dismissal. Further, Genesis’s merger argument is the sole

support for its conclusory suggestion that it—despite the merger occurring after service—“could

not be properly served with process” and “is not subject to personal jurisdiction.” (Mot. at 6). In

failing to develop these arguments in any way, Genesis has waived them. See Cruz v. Zucker, 116

F. Supp. 3d 334, 349 n.10 (S.D.N.Y. 2015) (“Because these arguments were not raised in his

opening brief, they were waived.”).




3
  A final case cited by Genesis, Chevron Corp. v. Salazar, 807 F. Supp. 2d 189 (S.D.N.Y. 2011),
which considers the effect of a corporate merger on judicial estoppel doctrines, is irrelevant to
the issue here.
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       II. Plaintiff States Claims for Tortious Interference
       The facts supporting Berris’s tortious interference claim are clearly alleged in the

complaint. Genesis, a SPAC in which Mr. Choi held an ownership interest, (see Cmpl. ¶¶ 87, 93)

and which had gone through contortions to paper over the clearly illegal pre-identification of De

Tomaso as a potential target, (Cmpl. ¶¶ 85, 88-92), was engaged in fabricated “arm’s length”

diligence of De Tomaso, (Cmpl. ¶¶ 199, 208). Berris was De Tomaso’s CEO and day-to-day

manager, (Cmpl. ¶¶ 46, 134, 155, 163) from which any rational business actor could infer an

agreement that he would be compensated for his work. As Berris raised concerns about the

potential transaction, (Cmpl. ¶¶ 87, 173, 193), and as it became clear that Berris’s equity stake

would need to be compensated or accounted for in any ultimate transaction, (see Cmpl. ¶¶ 198,

207), Samuel Lui, Genesis’s President and CFO, who held no role at De Tomaso, facilitated

Berris’s discharge, including by using threats, (Cmpl. ¶¶ 124, 199, 208). Under these facts, Berris

plainly has plausibly alleged that Genesis, through its President Lui, did intentionally and

improperly interfere with Berris’s contractual and business relationships with the De Tomaso

defendants.

       Notably, Genesis does not argue that there are not sufficient allegations from which to

conclude that Lui, Genesis’s President and CFO, “was acting as an agent of Genesis” and therefore

exposing Genesis to liability for its actions. Indeed, it cannot. (Cmpl. ¶ 209); see See v. Gov’t

Emps. Ins. Co., 2023 WL 2731697, at *11 (E.D.N.Y. Mar. 30, 2023) (“at the motion to dismiss

stage, a plaintiff need only raise a sufficient inference that some sort of agency relationship

existed”). And it has waived any argument to that effect. Cruz, 116 F. Supp. 3d at 349 n.10.

       As explained below, Plaintiff has adequately pleaded both claims against Genesis.
          A.   Tortious Interference with Contract
       A complaint for tortious interference “must allege (1) the existence of a valid contract

between a third party and plaintiff, (2) that defendant had knowledge of that contract, (3) that

defendant intentionally procured a breach, and (4) damages.” AIM Int’l Trading, L.L.C. v.

Valcucine S.p.A., 2003 WL 21203503, at *4 (S.D.N.Y. May 22, 2003); see also Rossman v.


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Morasco, 115 Conn. App. 234, 244 (2009). Genesis does not contest the sufficiency of the

allegations supporting the first or fourth elements.

       With respect to the second element, the defendant’s knowledge of the contract, it is black-

letter law that “knowledge[] and other conditions of a person’s mind may be alleged generally.”

Fed. R. Civ. P. 9(b). As Genesis concedes, “Berris alleges that he ‘had a contract for employment

with Defendant De Tomaso’” (Mot. at 6 (quoting Cmpl. ¶196)), and that he also “alleges that ‘Lui

and Genesis were aware of this contractual agreement,’” (Mot. at 6 (quoting Cmpl. ¶ 197)). That

is the end of the matter.

       What is more, Genesis’s knowledge of the agreement can also be reasonably inferred from

the complaint’s allegations. Berris was acting as De Tomaso’s CEO and day-to-day manager,

(Cmpl. ¶¶ 46, 134, 155, 163), and it is more than a reasonable inference that he was doing so

pursuant to contract (whether written or oral).        Moreover, because Genesis was a “SPAC

purportedly conducting due diligence of De Tomaso as a possible target,” (Cmpl. ¶¶ 199, 208; see

Cmpl. ¶¶ 84, 91-92, 173), the compensation of De Tomaso’s sole full-time officer who was running

the business, (e.g., Cmpl. ¶¶ 46, 134, 155, 163), appearing alongside its co-owner in marquee

publicity events, (Cmpl. ¶ 49), and acting as the public-facing leader and spokesperson for the

company, (Cmpl. ¶ 57), would be something of which it is reasonable to infer it would be aware.

Genesis’s suggestion that it was not aware of the employment contract between Berris and De

Tomaso is not supported by common sense or context and is, at best, a purported factual denial of

the allegations in the Complaint and therefore not an appropriate basis for a motion to dismiss.

       Further, contrary to Genesis’s suggestion that it was unaware of the precise terms of the

agreement with De Tomaso, (Mot. at 6-7), intentional interference with contract does not require

the defendant’s knowledge of the specific terms of the agreement. See 4F N.Y. Practice -

Commercial Litigation in New York State Courts § 131:49 (5th ed. 2021) (“To be liable for
interference, the defendant need not have ‘full knowledge of the detailed terms of the existing

contract.’”). And in any case, as specifically alleged in the Complaint, Genesis and Choi obtained

multiple valuations of the value of De Tomaso for purposes of engaging in a SPAC transaction or

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other sale. (See Cmpl. ¶¶ 73-74, 77, 116). Berris held an equity stake directly affected by any

sale. (Cmpl. ¶¶ 67, 196, 205). It is implausible that Genesis would be unaware of that stake after

the numerous meetings held with Berris and Choi as part of its purported diligence of De Tomaso.

(See Cmpl. ¶¶ 199, 208).       Accordingly, the allegations supporting the second element are

sufficiently pleaded in the Complaint.

       Genesis’s argument as to the third element of this claim—intentional procurement of

breach—similarly misses the forest for the trees and ignores the clear allegation that “Defendants

Choi, De Tomaso, Lui, and Genesis conspired with each other and acted in concert in tortiously

interfering with Berris’s contract with De Tomaso.” (Cmpl. ¶ 201; see Cmpl. ¶¶ 4-6, 107). As

Genesis correctly identifies, (Mot. at 1-2, 7), Choi and De Tomaso breached their agreement with

Berris by failing to compensate him as agreed, including denying him his equity stake as they

sought to merge or otherwise sell the company. Genesis and Lui played an integral role in the

ultimate denial of that compensation by effectuating Berris’s discharge. (Cmpl. ¶ 209). Indeed,

Lui attempted to induce Berris into signing a letter that would confirm that he had “no claim against

the Company whatsoever whether in respect of fees, remuneration, benefits or compensation” and

also employed threats to effectuate the same end. (Cmpl. ¶ 120; see Cmpl. ¶¶ 208, 119, 197-98).

Given Lui’s lack of any role at De Tomaso and the fact that Genesis was supposed to be acting at

arm’s length as a potential SPAC acquirer, (Cmpl. ¶¶ 84, 199), this conduct cannot be explained

except by intentional interference—why else would Lui and Genesis involve themselves in the

longstanding relationship between Berris and De Tomaso? It is thus a reasonable inference that

Genesis and Lui “induced or otherwise caused” De Tomaso to breach its agreement with Berris.

And in any case, the close interaction between Genesis and De Tomaso is a far cry from the

situation in Genesis’s sole case on this point, Bruce Bzura, LLC v. Moss, where “[o]n the face of

the Amended Complaint,” the defendants and the third party did “not interact with each other at
all.” 2018 WL 7858772, at *5 (S.D.N.Y. Oct. 25, 2018).

       Plaintiff’s claim for tortious interference with contract is sufficiently pleaded.



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          B.   Tortious Interference with Economic Advantage
       As an initial matter, Berris’s claim for tortious interference with prospective economic

advantage is pleaded in the alternative to his claim for tortious interference with contract. Courts

routinely permit plaintiffs to plead a claim for tortious interference with prospective economic

advantage in the alternative to a claim for tortious interference. See G-I Holdings, Inc. v. Baron

& Budd, 238 F. Supp. 2d 521, 535-36 (S.D.N.Y. 2002) (“Should the Defendants demonstrate that

Holdings’ contract with CCR was not fully enforceable or, assuming the validity of the contract,

that there was no breach, the claim for tortious interference might fail. In those circumstances,

however, the alternative claim for tortious interference with economic advantage would be

viable.”); In re MF Glob. Holdings Ltd. Inv. Litig., 998 F. Supp. 2d 157, 187 (S.D.N.Y. 2014),

aff'd sub nom. In re MF Glob. Holdings Ltd. Inv. Litig., 611 F. App’x 34 (2d Cir. 2015); 360 Mortg.

Grp., LLC v. Fortress Inv. Grp. LLC, 2022 WL 4086829, at *4 (S.D.N.Y. Sept. 6, 2022); AIM Int’l

Trading, 2003 WL 21203503, at *7 (S.D.N.Y. May 22, 2003); see also Fed. R. Civ. P. 8(e)(2). In

such circumstances, “the business advantage claim will lie only if the contract claim does not.”

MF Global, 998 F. Supp. 2d at 187. Which one of these two claims should proceed is properly

resolved beyond the pleadings stage.

       The actual language of Genesis’s sole case on this point—which it fails to quote and which

was decided at summary judgment with the benefit of discovery—makes clear that its reasoning
is limited and inapplicable here. The court in 434 Suffolk Avenue Realty, Inc. v. Incorporated

Village of Islandia reasoned that the prospective economic advantage claim “is duplicative of the

prior, nonviable cause of action for tortious interference with contract insofar as the plaintiffs

allege that the Village interfered with the Omnipoint and Nextel leases.” 34 Misc. 3d 1241(A),

2012 WL 934314, at *6 (Sup. Ct., Suffolk Cnty. 2012). Genesis has not so convincingly

established that the interference with business relations claim is coterminous with the interference

with contract claim, and indeed, contests the existence and scope of Berris’s agreement with Choi

and De Tomaso. (Mot. 1-2). Both claims should proceed.



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       And Berris has adequately pleaded facts to support each element of the tort. “To state a

claim for tortious interference with prospective economic advantage, a claimant must show (1)

business relations with a third party; (2) defendants’ interference with those business relations; (3)

defendants acted with the sole purpose of harming the plaintiff or used dishonest, unfair, or

improper means; and (4) injury to the relationship.” AIM Int’l Trading, 2003 WL 21203503, at *6;

see also Am. Diamond Exch., Inc. v. Alpert, 920 A.2d 357, 363 (Conn. App. 2007). Genesis

challenges only the second and fourth elements of Berris’s prospective economic advantage claim,

(Mot. at 8-9), apparently conceding that Berris had a business relationship with De Tomaso and

that, if there was interference at all, the means used were improper, (see Cmpl. at 208).

       Genesis’s argument that “Berris has not alleged with specificity that Genesis targeted any

activity toward Choi or De Tomaso,” Mot. at 8, lacks logical coherence or legal support. First,

there is no requirement interference be “alleged with specificity,” see Fed. R. Civ. P. 9(b), and the

interference with Berris’s relationship is clearly alleged and may also be inferred from the

allegations. Prior to the SPAC negotiations between Genesis and the De Tomaso defendants,

Berris had a working relationship with Choi and De Tomaso, and the relationship soured once

Genesis and Lui became involved. (See Cmpl. ¶¶ 4-6, 107). There is no explanation, absent such

interference and interaction with the De Tomaso defendants, for Lui, who held no role or title at

De Tomaso and was President and CFO of a company that was supposedly conducting arm’s

length negotiations, to have forced Berris’s resignation from the board by improper means,

including threats. (Cmpl. ¶ 208). Moreover, as key players in pushing the fraudulent SPAC

transaction forward, Genesis and Lui had an obvious motive to remove Berris, who opposed the

SPAC and held an equity stake that complicated the transaction.

       Moreover, evidence of any direct communications and inducements to action by Genesis

and Lui directed towards Choi and De Tomaso is likely within those parties’ possession and is

properly the subject of further discovery in this case. And the tort focuses on interference with the

business relationship. See Restatement (Second) of Torts § 766B (1979) (permitting claims for

intentional interference with prospective relations “whether the interference consists of (a)

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inducing or otherwise causing a third person not to enter into or continue the prospective relation

or (b) preventing the other from acquiring or continuing the prospective relation”) (emphasis

added); Restatement (Third) of Torts: Liab. for Econ. Harm § 18 (2020); see generally N.Y. Pattern

Jury Instruction - Civil 3:57. As such, the elements of the tort are not so narrow as suggested by

Genesis’s selective quotation from Bruce Bzura, LLC v. Moss, 2018 WL 7858772. (Mot. at 8).

And, in any event, Berris has clearly alleged that Genesis conspired with and targeted conduct

toward De Tomaso and Choi to push through the fraudulent SPAC transaction and terminate Berris

in furtherance of that scheme. (See Cmpl. ¶¶ 107, 116, 118-20, 207, 209-10.)

       Finally, Genesis’s suggestion that Berris failed to allege the fourth element, tortious

interference that caused an injury to the relationship, is squarely contradicted by the allegations in

the complaint that Genesis, acting through Lui, worked to interfere with Berris’s business

relationship with De Tomaso by pushing him out of the company by means of, among other things,

coercion and threats. (See, e.g., Cmpl. ¶¶ 4-6, 107, 119-120 207-211). Genesis’s arguments ignore

the allegations of the complaint and, at best, are an impermissible attempt to deny the factual

allegations in the complaint.
                                          CONCLUSION
       Genesis’s motion to dismiss should be denied.

Dated: September 12, 2023                             Respectfully submitted,
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